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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 SAMUEL BIGLEY,

        Plaintiff,                                  Case No: 6:18-cv-00303-JDK

 v.                                                 Honorable Judge Jeremy D. Kernodle

 NAVIENT SOLUTIONS, LLC,

        Defendant.

                     STIPULATION OF DISMISSAL WITH PREJUDICE

          IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff, SAMUEL

BIGLEY and the Defendant NAVIENT SOLUTIONS, LLC, through their respective counsel that

the above-captioned action is dismissed, with prejudice as to Defendant NAVIENT SOLUTIONS,

LLC, pursuant to Federal Rule of Civil Procedure 41. Each party shall bear its own costs and attorney

fees.


Dated: May 1, 2019                            Respectfully Submitted,

SAMUEL BIGLEY                                 NAVIENT SOLUTIONS, LLC

/s/ Mohammed O. Badwan                        /s/ Adam C. Ragan (with consent)
Mohammed O. Badwan                            Adam C. Ragan
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